       Case 19-24867-CMB                        Doc 74        Filed 04/29/25 Entered 04/29/25 11:28:35                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              ROBERT T. MCSWEENY


     Debtor 2              KRISTEN A. MCSWEENY
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-24867CMB




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 MIDFIRST BANK SSB*                                                               21

 Last 4 digits of any number you use to identify the debtor's account                         5   5   8   2

 Property Address:                             215 PARTRIDGE RUN RD
                                               GIBSONIA PA 15044




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        4,960.95

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        4,960.95

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        4,960.95



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,176.76
         The next postpetition payment is due on                 3 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                          page 1
   Case 19-24867-CMB                 Doc 74    Filed 04/29/25 Entered 04/29/25 11:28:35                            Desc Main
                                               Document Page 2 of 5



Debtor 1     ROBERT T. MCSWEENY                                               Case number (if known) 19-24867CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    04/29/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
   Case 19-24867-CMB              Doc 74    Filed 04/29/25 Entered 04/29/25 11:28:35                         Desc Main
                                            Document Page 3 of 5



Debtor 1     ROBERT T. MCSWEENY                                         Case number (if known) 19-24867CMB
             Name




                                              Disbursement History

Date         Check #   Name                                   Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
08/24/2022   1243693   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         194.36
09/27/2022   1246560   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         301.39
11/23/2022   1252166   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         538.27
12/22/2022   1254926   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         259.39
01/26/2023   1257653   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,261.46
03/28/2023   1263045   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         451.12
06/26/2023   1271618   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         752.78
07/25/2023   1274384   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         236.21
08/25/2023   1277155   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         236.21
09/26/2023   1279908   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         729.76
                                                                                                                  4,960.95

MORTGAGE REGULAR PAYMENT (Part 3)
02/25/2020   1150468   MIDLAND MORTGAGE CO*                   AMOUNTS DISBURSED TO CREDITOR                       1,152.54
03/23/2020   1153953   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,152.13
04/27/2020   1157406   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,149.88
07/29/2020   1167000   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         550.44
08/25/2020   1170071   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         549.99
09/28/2020   1173167   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,677.29
10/26/2020   1176264   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,144.18
11/24/2020   1179334   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,143.60
12/21/2020   1182285   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,143.11
01/25/2021   1185255   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,142.70
02/22/2021   1188389   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,560.14
03/26/2021   1191675   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,062.20
04/26/2021   1194925   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,079.50
05/25/2021   1198048   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.16
06/25/2021   1201233   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,721.96
07/26/2021   1204435   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,245.74
08/26/2021   1207557   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,269.94
09/24/2021   1210676   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,289.13
10/25/2021   1213748   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,291.70
11/22/2021   1216783   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,290.64
12/23/2021   1219858   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,941.97
01/26/2022   1222919   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,298.90
02/23/2022   1225795   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,301.96
03/25/2022   1228754   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,307.41
04/26/2022   1231798   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,307.37
05/25/2022   1234837   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,307.48
06/27/2022   1237864   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,957.76
07/26/2022   1240808   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,308.49
08/24/2022   1243693   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,186.21
09/27/2022   1246560   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.89
10/25/2022   1249390   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         655.49
11/23/2022   1252166   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,580.29
12/22/2022   1254926   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
01/26/2023   1257653   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
02/23/2023   1260276   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         641.96
03/28/2023   1263045   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,593.54
04/25/2023   1265864   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                         641.96
05/25/2023   1268722   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,283.24
06/26/2023   1271618   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,428.05
07/25/2023   1274384   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
08/25/2023   1277155   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
09/26/2023   1279908   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
10/25/2023   1282616   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
11/27/2023   1285294   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,117.75
12/21/2023   1287884   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
01/26/2024   1290563   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
02/26/2024   1293228   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
03/26/2024   1295873   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
04/25/2024   1298523   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
05/29/2024   1301233   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22

Form 4100N                                   Notice of Final Cure Payment                                           page 3
   Case 19-24867-CMB              Doc 74    Filed 04/29/25 Entered 04/29/25 11:28:35                         Desc Main
                                            Document Page 4 of 5



Debtor 1     ROBERT T. MCSWEENY                                         Case number (if known) 19-24867CMB
             Name




                                              Disbursement History

Date         Check #   Name                                   Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
06/25/2024   1303771   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,839.15
07/25/2024   1306368   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
08/26/2024   1308946   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
09/25/2024   1311536   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
10/25/2024   1314058   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
11/25/2024   1316625   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,119.22
12/23/2024   1319029   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,176.76
01/28/2025   1321524   MIDFIRST BANK SSB*                     AMOUNTS DISBURSED TO CREDITOR                       1,176.76
                                                                                                                 69,922.28




Form 4100N                                   Notice of Final Cure Payment                                           page 4
  Case 19-24867-CMB            Doc 74     Filed 04/29/25 Entered 04/29/25 11:28:35                  Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

ROBERT T. MCSWEENY
KRISTEN A. MCSWEENY
215 PARTRIDGE RUN ROAD
GIBSONIA, PA 15044

CHRISTOPHER M FRYE ESQ
STEIDL & STEINBERG PC
436 SEVENTH AVE STE 322
KOPPERS BUILDING
PITTSBURGH, PA 15219

MIDFIRST BANK SSB*
ATTN BANKRUPTCY TRUSTEE PMTS*
999 NW GRAND BLVD STE 100
OKLAHOMA CITY, OK 73118

ALDRIDGE PITE LLP
3333 CAMINO DEL RIO SOUTH STE 225
SAN DIEGO, CA 92108




4/29/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
